




NO. 07-05-0315-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



SEPTEMBER 27, 2005



______________________________





ARTHUR CARSON, APPELLANT



V.



DOUG DRETKE, J. NUNN, AND M. MAES, APPELLEES





_________________________________



FROM THE 47TH DISTRICT COURT OF POTTER COUNTY;



NO. 093369-00-A; HONORABLE HAL MINER, JUDGE



_______________________________



Before QUINN, C.J., and REAVIS and CAMPBELL, JJ.

MEMORANDUM OPINION

Appellant Arthur Carson perfected this appeal from the trial court’s order of August 4, 2005, dismissing his civil rights suit as frivolous and for non-compliance with chapter 14 of the Texas Civil Practice and Remedies Code. &nbsp;Pending before this Court is Carson’s opposed motion to consolidate this appeal with cause number 07-04-0589-CV, which has already been submitted for consideration. &nbsp;Carson alternatively requests dismissal of this appeal. &nbsp;We overrule the request for consolidation and dismiss the appeal.

Having dismissed the appeal at Carson’s request, no motion for rehearing will be considered and our mandate will issue forthwith.

Don H. Reavis

 &nbsp;&nbsp;&nbsp;&nbsp;Justice


